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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

LAKE CHARLES DIVISION
DAVID WING * CIVIL ACTION NO:
VERSUS * JUDGE:

TRS STAFFING SOLUTIONS, INC = MAGISTRATE:
AND STEVEN STEELE

 

COMPLAINT FOR DAMAGES FOR PERSONAL INJURY
(With Jury Demand)

 

NOW INTO COURT, through undersigned counsel, comes Complainant, DAVID

WING, a person of the full age of majority and a resident and domiciliary of Calcasieu Parish,

Louisiana, who with respect represents:

1.

The jurisdiction of this Honorable Court is invoked under 28 U.S.C. §1332, and the

amount in controversy herein exceeds the sum or value of SEVENTY-FIVE THOUSAND AND

NO/100 ($75,000.00) DOLLARS, exclusive of interest and costs.

2.

The following are made Defendants herein:

A.

STEVEN STEELE, a resident and domiciliary of Matagorda County, Texas and
a person of the full age of majority; and

TRS STAFFING SOLUTIONS, INC, a foreign corporation authorized to do
and doing business in the State of Louisiana, domiciled in Greenville, SC, whose
agent for service of process is Corporation Service Company, who can be served
at 501 Louisiana Avenue, Baton Rouge, Louisiana 70802.
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which Defendants are justly and truly indebted to Complainant DAVID WING in an amount not
less than TWO-MILLION FIVE-HUNDRED THOUSAND AND NO/100 ($2,500,000.00)
DOLLARS, for the following, to-wit:

3.

At all times, Defendant, STEVEN STEELE, was an employee of Defendant, TRS
STAFFING SOLUTIONS, INC., acting at all times herein while under the direction and/or
control of said employer.

4,

Complainant, DAVID WING, alleges that on or about July 11, 2018, he was employed
by Group Industries, LLC and working as an industrial carpenter at the Sasol chemical plant in
Calcasieu Parish, Louisiana.

5.

Complainant, DAVID WING, further alleges that as he was working as an industrial
carpenter and headed back to his job assignments when suddenly, and without forewarning, a
utility task vehicle (UTV) operated by Defendant, STEVEN STEELE, struck Complainant from
behind and ran over him as Defendant admittedly fell asleep at the wheel, thus causing serious
and disabling injuries to Complainant, DAVID WING.

6.

Complainant shows that this accident, and the resulting injuries and damages, were
caused solely by reason of the fault, negligence, carelessness, and/or omission of duty on the part
of the Defendant, STEVEN STEELE, without any fault or negligence on the part of

Complainant causing or in any way contributing thereto.
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7.

The Defendant, TRS STAFFING SOLUTIONS, INC., is liable for any and all acts and

omissions committed by its employees and crew or other individuals for whom they are

responsible under the doctrine of respondeat superior.

8.

The fault, carelessness, negligence and/or omission of duty of Defendant, STEVEN

STEELE, consisted of, among other things, all of the following:

A.

B.

Failure to stay alert to avoid running over a pedestrian;
Failure to maintain a proper lookout;

Failure to bring the vehicle he was operating to a stop under
existing conditions to avoid the impact;

Failure to maintain control of the vehicle;
Failure to keep a safe, clear distance;
Failure to take avoidance maneuvers to avoid the impending impact;

Violation of certain other City, Parish and/or State motor vehicle statutes or
ordinances; and

Any and all other acts of negligence to be proven at the trial of this
matter.

9.

As a result of the aforesaid accident occasioned through the negligence of Defendant,

STEVEN STEELE, Complainant, DAVID WING, sustained substantial and disabling injuries

consisting of injury to his legs, right ankle, right foot and chest, with injuries to the ligaments,

muscles, nervous system and other tissues of his body.
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10.

As a result of these injuries, Complainant, DAVID WING has suffered severe pain,
soreness, stiffness and tenderness of the injured areas, weakness, mental anguish and
dysfunction, disability, limitation of movement and impairment of all functions, for which he
claims as an element of recoverable damages, for past, present and future, such amounts as are
reasonable in the premises.

11.

Further, as a result of the aforementioned injury, Complainant alleges that as a result of
the aforesaid injuries sustained by him, he has incurred a loss of wages, past, present, and future,
for which loss of wages Complainant also claims as an element of recoverable damages.
Additionally, he has incurred significant expenses for medical care, and will incur additional
medical expenses in the future, for which he claims as an element of recoverable damages, for
past, present and future such amounts as are reasonable in the premises.

12.

That, as a direct result of the foregoing, Complainant, DAVID WING, has suffered, is
suffering and will continue to suffer damages, consisting of past and future physical pain and
mental anguish and suffering, past disability and permanent future disability, loss of wages, loss
of earning capacity, loss of enjoyment of life, and past, and possibly, future medical expenses, in
an amount of not less than TWO-MILLION FIVE-HUNDRED THOUSAND AND NO/100
(2,500,000.00) DOLLARS, as nearly as the same can now be estimated.

13.

Complainant desires a trial by jury on all of the issues of this case.
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14.

WHEREFORE, Complainant, DAVID WING, prays that Defendants be served with a
copy of this Complaint for Damages and that they be duly cited to appear and answer herein; that
after the lapse of all legal delays and due proceedings had, there be a judgment in favor of
DAVID WING against Defendants STEVEN STEELE and TRS STAFFING SOLUTIONS,
INC, REC MARINE LOGISTICS, LLC, ENERGY XXI USA, INC., ENERGY XXI GULF
COAST, INC, in the full and true sum of TWO-MILLION FIVE-HUNDRED THOUSAND
AND NO/100 ($2,500,000.00) dollars, as nearly as the same can now be estimated, together with

all costs, legal interest, and all just and equitable relief.

Respectfully submitted,

ERROL L. CORMIER, APLC

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DAVID WING
